           Case 2:10-cr-00211-GEB Document 372 Filed 11/13/12 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JARED C. DOLAN
     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )   CASE NO. 2:10-cr-211 GEB
                                            )
12                       Plaintiff,         )
                                            )   STIPULATION AND [PROPOSED]
13   v.                                     )   ORDER SETTING BRIEFING SCHEDULE
                                            )   AND RESCHEDULING MOTION HEARING
14   CEDRIC ROBERSON,                       )
                                            )
15                       Defendant.         )
                                            )
16                                          )
17
          STIPULATION AND [PROPOSED] ORDER SETTING BRIEFING SCHEDULE AND
18                          RESCHEDULING MOTION HEARING
19         The United States of America, by and through the undersigned
20   assistant United States attorney, and defendant Cedric Roberson, by
21   and through counsel, stipulate and agree as follows:
22         1.   The United States response to defendant Cedric Roberson’s
23   motion for release pending appeal shall be filed no later than
24   November 23, 2012.
25         2.   The defendant’s optional reply shall be filed no later than
26   November 30, 2012.
27         3.   The hearing on the defendant’s motion, currently scheduled
28   for November 16, 2012, shall be held December 7, 2012, at 9:00 a.m.

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          Case 2:10-cr-00211-GEB Document 372 Filed 11/13/12 Page 2 of 2


 1   in Courtroom 10 before the Honorable Garland E. Burrell, Jr.
 2
 3                                    Respectfully Submitted,
 4                                    BENJAMIN B. WAGNER
                                      United States Attorney
 5
     Date: 11/13/12                   /s/ Jared Dolan
 6                                    By: JARED C. DOLAN
                                      Assistant United States Attorney
 7
 8   Date: 11/13/12                   /s/ Jared Dolan for
                                      BRUCE LOCKE
 9                                    Attorney for Defendant
                                      CEDRIC ROBERSON
10
          SO ORDERED.
11
12   Dated:   November 13, 2012

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14                                    GARLAND E. BURRELL, JR.
                                      Senior United States District Judge
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